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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IN RE: TESTOSTERONE                                MDL No. 2545
REPLACEMENT THERAPY PRODUCTS
LIABILITY LITIGATION                               Master Docket Case No. 1:14-cv-01748

                                                   Honorable Matthew F. Kennelly
THIS DOCUMENTS RELATES TO:




                 JOINT STATUS REPORT REGARDING SELECTION OF
                    ACTAVIS-ONLY BELLWETHER TRIAL CASES
                  PURSUANT TO CASE MANAGEMENT ORDER NO. 37

       In accordance with Case Management Order No. 37, ¶ 8 and the requirement that two of

the six Actavis-only Bellwether Discovery Cases be selected as the Bellwether Trial Case and

Alternate Bellwether Trial Case, the PSC and Actavis Defendants hereby file this Joint Status

Report and advise the Court that the parties have agreed to select one myocardial infarction case

each for later designation as the Bellwether Trial Case and the Alternate Bellwether Trial Case.

Pursuant to that agreement, the PSC selects Brad Martin, et al. v. Actavis, Inc., et al., Case No.

15-cv-4292 as its choice for an Actavis-only Bellwether Trial Case, and Actavis Defendants

select Casey Brubaker, et al. v. Actavis, Inc., et al., Case No. 15-cv-0426 as its choice for an

Actavis-only Bellwether Trial Case, with the understanding that the case not ultimately chosen as

the Bellwether trial case will be the Alternate Bellwether Trial Case.

       The parties submit that the Martin case and the Brubaker case are appropriate Bellwether

Trial Cases. In both cases, plaintiff alleges he suffered a myocardial infarction as a result of

using Androderm. Over 70% of the Actavis-only cases pending in the TRT MDL involve a

claim of cardiovascular injury, many of which are myocardial infarction cases. Trying a
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myocardial infarction case will be instructive to the majority of Actavis-only cases in the TRT

MDL.

        WHEREFORE, the PSC and Actavis Defendants request that the Court enter the attached

proposed Case Management Order memorializing the agreement of the parties and designating

the Martin case and the Brubaker case as the Bellwether Trial Case and Alternate Bellwether

Trial Case, pursuant to CMO No. 37, with the final designation of which case will be the

Bellwether Trial Case and which case will be the Alternate Bellwether Trial Case to be made at a

later date.

Dated: December 8, 2017                           Respectfully submitted,

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                                                  Plaintiffs’ Co-Lead Counsel



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of December, 2017, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which sent notification of such

filing and transmittal of a Notice of Electronic Filing to all CM/ECF participants.



                                             /s/ Jeffrey D. Geoppinger
                                             Jeffrey D. Geoppinger
